             Case 2:08-cr-00392-GEB Document 129 Filed 04/09/09 Page 1 of 2


1    CARL E. LARSON, Bar #48162
     Attorney at Law
2    9490 Golden Gate Avenue
     Orangevale, CA 95662
3    Telephone: (916) 989-9226
4    Attorney for Defendant
     KHAMSOU SIDA
5
6                          IN THE UNITED STATES DISTRICT COURT
7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
                                           )   CR.S-08-390-GEB
10   UNITED STATES OF AMERICA,             )   CR.S-08-392-GEB
                                           )
11                     Plaintiff,          )
                                           )   STIPULATION AND ORDER
12        v.                               )
                                           )   Date: April 24, 2009
13   KHAMSOU SIDA,                         )   Time: 9:00 a.m.
                                           )   Judge: Garland E. Burrell
14                     Defendant.          )
                                           )
15   _____________________________
16
17       The parties, plaintiff United States, through counsel, Assistant

18   United States Attorney, MICHAEL BECKWITH and the defendant, KHAMSOU

19   SIDA, through counsel, CARL E. LARSON, hereby stipulate that the status

20   conference set for April 10, 2009 at 9:00 a.m. be rescheduled to April

21   24, 2009 at 9:00 a.m.      Counsel requesting this continue due to the

22   Psychiatric Report is not yet available.

23   / / /

24   / / /

25   / / /

26   / / /

27   / / /

28
              Case 2:08-cr-00392-GEB Document 129 Filed 04/09/09 Page 2 of 2


1        Speedy trial time is to be excluded from the date of this order
2    through the date of the status conference set for April 24, 2009

3    pursuant to 18 U.S.C. § 3161 (h)(1)(A) [mental incompetence to stand

4    trial] (Local Code N).

5
      Dated: April 8, 2009
6                                              Respectfully submitted,

7
                                               /s/ Carl E. Larson
8                                              _____________________________
                                               CARL E. LARSON
9                                              Attorney for Defendant
                                               KHAMSOU SIDA
10
11   Dated: April 8, 2009                      LAWRENCE G. BROWN
                                               Acting United States Attorney
12
                                               /s/ Michael Beckwith
13
                                               MICHAEL BECKWITH
14                                             Assistant United States Attorney

15
16   SO ordered.

17   Dated:     April 8, 2009
18
19                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
20
21
22
23
24
25
26
27
28
